       Case 2:13-cr-06054-EFS           ECF No. 411        filed 12/16/16      PageID.1198 Page 1 of 2
 PROB 12C                                                                          Report Date: December 16, 2016
(6/16)

                                       United States District Court                                     FILED IN THE
                                                                                                    U.S. DISTRICT COURT
                                                                                              EASTERN DISTRICT OF WASHINGTON

                                                       for the
                                                                                              Dec 16, 2016
                                        Eastern District of Washington                             SEAN F. MCAVOY, CLERK



                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Brandon Scott Langford                    Case Number: 0980 2:13CR06054-004
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Edward F. Shea, Senior U.S. District Judge
 Date of Original Sentence: July 15, 2014
 Original Offense:        Conspiracy and Aiding and Abetting Bank Fraud, 18 U.S.C. § 1344, 371 and 2; Bank
                          Fraud, 18 U.S.C. § 1344(2);
 Original Sentence:       Prison 7 days; TSR - 36 days       Type of Supervision: Supervised Release
 Asst. U.S. Attorney:     Ian L. Garrigues                   Date Supervision Commenced: July 15, 2014
 Defense Attorney:        Alex B. Hernandez, III             Date Supervision Expires: July 14, 2017


                                          PETITIONING THE COURT

                To issue a bench warrant and incorporate the violations contained in this petition with the
violations previously reported to the Court on 08/12/2016 and 11/10/2016.

The probation officer believes that the offender has violated the following conditions of supervision:


Violation Number        Nature of Noncompliance

            6           Standard Condition # 3: The defendant shall answer truthfully all inquiries by the
                        probation officer and follow the instructions of the probation officer.

                        Supporting Evidence: On December 15, 2016, the defendant was directed to remain at the
                        probation office until he could provide a random urinalysis sample for testing. The defendant
                        left the building prior to providing the sample. Contact via telephone and text were
                        attempted, but they went unreturned.
            7           Special Condition # 23: The defendant shall abstain from the use of illegal controlled
                        substances, and shall submit to urinalysis and sweat patch testing, as directed by the
                        supervising officer, but no more than 6 tests per month, in order to confirm continued
                        abstinence from these substances.

                        Supporting Evidence: On December 15, 2016, the defendant reported for a random
                        urinalysis as directed. He could not provide a sample so he was directed to consume some
                        water and wait until he could provide a sample. As noted above, the defendant left the
                        building and did not provide a sample for testing.
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Prob12C
Re: Langford, Brandon Scott
December 16, 2016
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                                     I declare under penalty of perjury that the foregoing is true and correct.
                                                       Executed on:     12/16/16
                                                                        s/David L. McCary
                                                                        David L. McCary
                                                                        U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [X ]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [X ]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [X ]     Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                        Signature of Judicial Officer
                                                                          December 16, 2016

                                                                        Date
